Pickens County Branch of the NAACP, et al v. School District of Pickens County.
Civil Action No. 8:23-cv-01736-BHH

Exhibit C

To School District of Pickens County’s Response in Opposition to Plaintiffs’ Motion for
Preliminary Injunction

Declaration of Dr. Betty Bagley
IN ‘THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA
ANDERSON DIVISION

Pickens County Branch of the NAACP;

Rebecca Turner and Brandon Turner, on behalf of
minor children J.T. and G.T.;

Susanna Ashton and Peter Laurence on behalf of
minor children H.L. and C.L.;

Reba Kruse and Derrick Kruse on behalf of minor
children S.K. and R.K.,

Plaintiffs,
v.

School District of Pickens County,

Case No. 8:23-cv-01736-BHH

Defendant.

DECLARATION OF DR. BETTY BAGLEY

I, BETTY BAGLEY, declare pursuant to 28 U.S.C. § 1746 as follows:

My name is Betty Bagley. I am over the age of 18 and am competent to make this
declaration. I am a citizen and resident of South Carolina. The facts stated herein are
true of my own personal knowledge, and if called to testify, I would so testify.

I have a Bachelor’s degree in psychology from Southern Wesleyan University; a
Master of Education in school counseling from Clemson University; a Master of
Education in school psychology from the Citadel; an Educational Specialist degree
from the Citadel; and a Ph.D. in Educational Leadership from Clemson University.

I held a teaching license from the State of South Carolina for 53 years, and for 46 of
those years, I was also certified by the State of South Carolina as an elementary school
administrator and secondary school administrator. I also hold certifications in special
education, school counselor, school psychologist, and superintendent.

I have extensive professional training and experience in the operation and administration
of public schools, the law of education, and the selection and development of curricula,
classroom materials, training materials, and school resources.

In the course of my 53-year career in education, I served as a high school teacher, a
director of special services, school psychologist, professional development coordinator,
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curriculum coordinator, director of student services, and superintendent, sometimes
serving in more than one of those roles at the same time.

I served as the Superintendent of Bamberg School District One from 1993 to 2000; the
Superintendent of Anderson School District Five from 2000 to 2013; and the Interim
Superintendent of McCormick County School District from 2018 to 2020. In addition,
I have served as a learning consultant at the South Carolina Department of Education
and served for four years as the Field Director for TransformSC, an initiative of the
South Carolina Council on Competitiveness to identify and help implement innovative
educational practices to help South Carolina’s public schools and their students
succeed.

I was honored to be named the South Carolina Superintendent of the Year in 2008 and
to receive the Lifetime Achievement Award in 2013.

During my time as a District Superintendent, the work I led in curriculum development
was selected by the State of South Carolina to serve as a model curriculum.

In addition, during my career, I have served as an adjunct faculty member at Anderson
University, Clemson University, and Furman University teaching classes on school
law, school finance, instructional leadership, organizational leadership, internships,
politics in education, and school facilities.

I currently serve on the Board of Trustees at the School District of Pickens County. I
have served on the Board since November 2016 and served as Board Chair in 2022.

In my role as a member of the Board, I voted on September 26, 2022, to remove the
book Stamped: Racism, Antiracism, and You (“Stamped”) from the curriculum, library,
and media centers of the School District of Pickens County high schools after failing
to pass a motion that I supported to remove the book from the curriculum and to give
students access to the book Stamped in high school libraries only with parental consent.

In deciding how I would vote in that meeting, I reviewed and considered the school-
level and district-level committees’ findings, conclusions, and recommendations
regarding the use of Stamped in the curriculum, library, and media centers of the School
District of Pickens County high schools.

In deciding how I would vote in that meeting, I carefully considered the rights,
freedoms, and responsibilities of students, parents/legal guardians, and teachers in the
School District of Pickens County.

I do not object to including books, materials, ideas, or discussion in the curriculum and
school libraries of the School District of Pickens County regarding race, racism, slavery,
the civil rights movement, and historic or contemporary issues and tensions regarding
race, racism, and justice if those books, materials, ideas, or discussions are carefully
guided, intellectually appropriate, age-appropriate, and educationally suitable for the
students of the School District of Pickens County.
15. I believe that, as a result of the factual errors and omissions in Stamped, the book is
appropriately described and labeled as not historically complete or accurate. Stamped
relies on a non-historically accurate narrative written from the authors’ perspective, and
critics and commentators have noted its factual account is not objectively accurate.
Accordingly, I believe Stamped is not well suited for use in the general high school
curriculum, or for general circulation in high school libraries without appropriate
parental guidance.

16. Ina board meeting held July 6, 2023, I, along with the other members of the Board of
Trustees, voted to allow student access to the book Stamped in high school libraries
subject to parental consent. This decision mirrors a motion that was made, and for
which I voted, during the Board meeting on September 26, 2022. This vote also mitrors
a motion made by me in the May 2023 board meeting to add to the agenda the
consideration of allowing students access to the book Stamped in high school libraries
subject to parental consent.

17. | [ declare under penalty of perjury that the foregoing is true and correct.

EXECUTED this /0_ day of July, 2023.

Yt ix OS c. hen
Dr. Betty Bagley \

